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                          WHENEVER COMMUNICATIONS, LLC
                       13 d.b.a. SatellitePhoneStore.com,
                          and HENAA BLANCO
                       14
                                                    UNITED STATES DISTRICT COURT
                       15
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                       16
                          SATMODO, LLC, a California limited       Case No. 17-CV-0192-AJB NLS
                       17 liability company,
                                                                   JOINT STATEMENT OF ITEMS IN
                       18                Plaintiff,                DISPUTE RE DISCOVERY
                                                                   DISPUTE NO. 1
                       19         v.
                                                                   Judge: Hon. Nita L. Stormes
                       20 WHENEVER COMMUNICATIONS,
                          LLC, d.b.a. SatellitePhoneStore.com, a   Action Filed: February 1, 2017
                       21 Nevada limited liability company,        Trial Date:   None Set
                          HENAA BLANCO, an individual, and
                       22 DOES 1 through 50, inclusive,
                       23                 Defendants.
                       24
                       25         Plaintiff SATMODO LLC (“Plaintiff”), by and through its attorneys of record herein,

                       26 Scott J. Ivy and Devon R. McTeer, and Defendants WHENEVER COMMUNICATIONS, LLC
                       27 dba SATELLITEPHONESSTORE.COM (“Whenever”) and HENAA BLANCO (“Blanco”)
                       28 (collectively “Defendants”), by and through their attorney of record herein, Matthew W. Herron,
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 SHEPPARD, W AYTE &
   CARRUTH LLP                                                                                          17-CV-0192-AJB NLS
7647 NORTH FRESNO STREET
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                        1 hereby submit their joint statement regarding the parties’ respective positions on outstanding
                        2 discovery issues as follows:
                        3                                      DISCOVERY AT ISSUE

                        4          The current dispute arises from Defendant Whenever’s responses to Special

                        5 Interrogatories, Set One, Request For Production of Documents, Set One, and Demand for
                        6 Inspection Of Personal Property, Set One, and Defendant Blanco’s responses to Requests For
                        7 Production of Documents, Set One., propounded by Plaintiff. The parties have met and conferred
                        8 in good faith pursuant to Local Rule VI, but could not fully resolve their disputes.
                        9    SPECIAL INTERROGATORIES TO WHENEVER COMMUNICATIONS
                       10 SPECIAL INTERROGATORY NO. 1:
                       11          Identify each COMPUTING DEVICE within YOUR possession, custody or
                       12 control which was in use for any purpose related to YOUR operations at any time
                       13 from January 1, 2016 to the present, whether still in use or not, including for each
                       14 device:
                       15          a.     A description of the device;
                       16          b.     The model and serial number;
                       17          c.     The time period between January 1, 2016 to the present that the device
                       18 was in use;
                       19          d.     All users for the period referenced above and
                       20          e.     Locations where the equipment was located during the same period;
                       21          f.     If the device is no longer in use, the last person to have custody.
                       22 Response to Special Interrogatory No. 1:
                       23          Objection: overbroad, burdensome and oppressive and outside the scope of
                       24 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       25 production of material which might be privileged and would be proprietary to the
                       26 Defendant. Defendants will not permit this inspection. Working from the list
                       27 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       28 dispute and if there is a good faith disagreement about particular clicks being
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                        1 attributed to Defendant then the parties’ experts can confer to determine the best
                        2 means to determine if the clicks are actionable against Defendant.
                        3 Defendant’s Supplemental Response To Special Interrogatory No. 1:
                        4        The documents produced by Defendants numbered as WC 000170-219
                        5 represent an inventory of the company IP Addresses at each location with the date
                        6 range for the use of each, and the IP Addresses for employees who used their own
                        7 devices for business purposes, again with the date range for each. The inventory
                        8 was compiled by Greg Winter, an IT professional, working with the company and
                        9 its employees and as confirmed by the screenshots included in the production. The
                       10 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                       11 against the list provided by Plaintiff and prepared his letter produced with his
                       12 resume as WC 000220-235.
                       13 Plaintiff’s Reason to Compel Production:
                       14        The Interrogatory asks Defendant to identify the various computing devices
                       15 and operations systems used during the relevant time frame in an attempt to
                       16 determine the universe of potential devices that may have been used by Defendants
                       17 and better target future written discovery and depositions. The Interrogatory seeks
                       18 information directly related to the identity of devices and systems that relate to
                       19 Defendants’ fraudulent clicks and use of such computing devices/operating systems
                       20 to injure Plaintiff. As described in detail in the Motion, the internal list of IPs
                       21 referenced in the Supplemental Responses does not provide the information
                       22 requested.
                       23        Moreover, even the non-responsive list of “IP addresses” based upon current
                       24 screen shots if the IP assigned is of little value in identifying all potential IP
                       25 addresses previously used or assigned, as devices may be assigned different IP
                       26 addresses on any given day as they are moved from place to place, or even by
                       27 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                       28 Declaration of Lars Schou).
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                        1 Defendant’s Basis for Objection:
                        2        This computer information is not discoverable, or even material to this case,
                        3 under the standards of Rule 26 and the guidance of the District Court on the narrow
                        4 scope of discovery.     The case concerns internet activity which is logged and
                        5 recorded at the receiving end, and here Satmodo relies on the log which records IP
                        6 Addresses associated with the clicks on its paid ads. Defendants have produced a
                        7 complete list of the IP Addresses of the company and its employees and has retained
                        8 an expert to compare those addresses with the log. This discovery would be like
                        9 demanding production of the sending computer in order to confirm an email was
                       10 received. The declarations provided by Satmodo do not even attempt to make any
                       11 showing of why the computer itself needs to be identified or produced. Further,
                       12 Satmodo has issued subpoenas to all the internet service providers seeking
                       13 production of records which identify the owners of the IP Addresses which can then
                       14 be used to compare to its list of paid ad clicks. Satmodo claims that its third party
                       15 vendor, ClickCease, assigns a Device ID number to all devices which click on the
                       16 paid ad, but the device itself does not contain that number and the user would have
                       17 no knowledge it was even assigned. Rather, this is a number internal to ClickCease,
                       18 logged in a manner which can be viewed by its customer, Satmodo. The way to
                       19 determine the Device ID for a specific device would be to run a controlled test using
                       20 the device to click on the paid ad, noting the Device ID which results from that click
                       21 and then comparing the Device ID to the log of paid ad. Defendant’s expert is
                       22 prepared to set up and run the test with Satmodo’s expert. This test would produce
                       23 the Device ID for all of Defendants’ and its employee’s devices which would show
                       24 recorded on the Click Cease paid ad log.
                       25        Defendants have fully cooperated in this discovery and have provided a
                       26 complete list of IP Addresses, employees and their addresses, former employees and
                       27 contractors, as well as the report by the retained expert. The competitive landscape
                       28 and history between the parties, as well as the modest amount in controversy of the
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                        1 case, makes it inappropriate to order this discovery.
                        2 SPECIAL INTERROGATORY NO. 2:
                        3        Identify each COMPUTING DEVICE owned, possessed, and/or used by any
                        4 of YOUR employees, agents, independent contractors, and agents at any time during
                        5 the period from January 1, 2016 to the present that YOU understood was used while
                        6 they performed their duties for YOU, whether still in use or not, including for each
                        7 device:
                        8        a.     A description of the device;
                        9        b.     The model and serial number;
                       10        c.     The time period between January 1, 2016 to the present that the device
                       11 was in use;
                       12        d.     All users for the period referenced above and
                       13        e.     Locations where the equipment was located during the same period;
                       14        f.     If the device is no longer in use, the last person to have custody.
                       15 Response to Special Interrogatory No. 2:
                       16        Objection: overbroad, burdensome and oppressive and outside the scope of
                       17 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       18 production of material which might be privileged and would be proprietary to the
                       19 Defendant. Defendants will not permit this inspection. Working from the list
                       20 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       21 dispute and if there is a good faith disagreement about particular clicks being
                       22 attributed to Defendant then the parties’ experts can confer to determine the best
                       23 means to determine if the clicks are actionable against Defendant.
                       24 Defendant’s Supplemental Response To Special Interrogatory No. 2:
                       25        The documents produced by Defendants numbered as WC 000170-219
                       26 represent an inventory of the company IP Addresses at each location with the date
                       27 range for the use of each, and the IP Addresses for employees who used their own
                       28 devices for business purposes, again with the date range for each. The inventory
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                        1 was compiled by Greg Winter, an IT professional, working with the company and
                        2 its employees and as confirmed by the screenshots included in the production. The
                        3 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                        4 against the list provided by Plaintiff and prepared his letter produced with his
                        5 resume as WC 000220-235.
                        6 Plaintiff’s Reason to Compel Production:
                        7        The Interrogatory asks Defendant to identify the various computing devices
                        8 and operations systems used during the relevant time frame in an attempt to
                        9 determine the universe of potential devices that may have been used by Defendants
                       10 and better target future written discovery and depositions. The Interrogatory seeks
                       11 information directly related to the identity of devices and systems that relate to
                       12 Defendants’ fraudulent clicks and use of such computing devices/operating systems
                       13 to injure Plaintiff. As described in detail in the Motion, the internal list of IPs
                       14 referenced in the Supplemental Responses does not provide the information
                       15 requested.
                       16        Moreover, even the non-responsive list of “IP addresses” based upon current
                       17 screen shots if the IP assigned is of little value in identifying all potential IP
                       18 addresses previously used or assigned, as devices may be assigned different IP
                       19 addresses on any given day as they are moved from place to place, or even by
                       20 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                       21 Declaration of Lars Schou).
                       22 Defendant’s Basis for Objection:
                       23        This is even more intrusive than Special Interrogatory No. 1 since it concerns
                       24 non-parties to the case. The IP Address list provided for the employees can be
                       25 compared to the paid ad click list IP Address to determine if the employee’s devices
                       26 were logged on the paid ad list.
                       27 SPECIAL INTERROGATORY NO. 3:
                       28        Identify each COMPUTING DEVICE within YOUR possession, custody or
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                        1 control, whether still in use or not, that was used to access, review, research and/or
                        2 click on SATMODO’s website or paid advertisements including for each device:
                        3        a.     A description of the device;
                        4        b.     The model and serial number;
                        5        c.     The time period between January 1, 2016 to the present that the device
                        6 was in use;
                        7        d.     All users for the period referenced above and
                        8        e.     Locations where the equipment was located during the same period;
                        9        f.     If the device is no longer in use, the last person to have custody.
                       10 Response to Special Interrogatory No. 3:
                       11        Objection: overbroad, burdensome and oppressive and outside the scope of
                       12 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       13 production of material which might be privileged and would be proprietary to the
                       14 Defendant. Defendants will not permit this inspection. Working from the list
                       15 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       16 dispute and if there is a good faith disagreement about particular clicks being
                       17 attributed to Defendant then the parties’ experts can confer to determine the best
                       18 means to determine if the clicks are actionable against Defendant.
                       19 Defendant’s Supplemental Response To Special Interrogatory No. 3:
                       20        The documents produced by Defendants numbered as WC 000170-219
                       21 represent an inventory of the company IP Addresses at each location with the date
                       22 range for the use of each, and the IP Addresses for employees who used their own
                       23 devices for business purposes, again with the date range for each. The inventory
                       24 was compiled by Greg Winter, an IT professional, working with the company and
                       25 its employees and as confirmed by the screenshots included in the production. The
                       26 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                       27 against the list provided by Plaintiff and prepared his letter produced with his
                       28 resume as WC 000220-235.
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                        1 Plaintiff’s Reason to Compel Production:
                        2        It is difficult to imagine a more relevant and critical request than that
                        3 Defendants identify any and all devices that were used to access Satmodo’s website
                        4 and/or to click on Plaintiff’s ads. Defendants’ “supplemental response” fails to
                        5 provide this information. Moreover, even the non-responsive list of “IP addresses”
                        6 based upon current screen shots if the IP assigned is of little value in identifying all
                        7 potential IP addresses previously used or assigned, as devices may be assigned
                        8 different IP addresses on any given day as they are moved from place to place, or
                        9 even by simply toggling on          and off “Airplane Mode.”         (See Motion and
                       10 accompanying Declaration of Lars Schou).
                       11 Defendant’s Basis for Objection:
                       12        The same reasons why this is not discoverable described in response to
                       13 Special Interrogatory No. 1 applies here. The IP Address list provides the date
                       14 ranges for use of the IP Address.
                       15 SPECIAL INTERROGATORY NO. 4:
                       16        If YOU are aware of or contend that any COMPUTING DEVICE(s) not
                       17 within YOUR possession, custody or control were used to access, review, research
                       18 and/or click on SATMODO’s website or paid advertisements from the time period
                       19 between January 1, 2016 to the present, identify the each device, including:
                       20        a.     A description of the device;
                       21        b.     Who YOU believe or contend owned, operated, or used the device;
                       22        c.     The model and serial number;
                       23        d.     The time period between January 1, 2016 to the present that the device
                       24 was in use;
                       25        e.     All users for the period referenced above;
                       26        f.     Locations where the equipment was located during the same period;
                       27        g.     If the device is no longer in use, the last person to have custody.
                       28 Response to Special Interrogatory No. 4:
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                        1        Objection: overbroad, burdensome and oppressive and outside the scope of
                        2 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                        3 production of material which might be privileged and would be proprietary to the
                        4 Defendant. Defendants will not permit this inspection. Working from the list
                        5 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                        6 dispute and if there is a good faith disagreement about particular clicks being
                        7 attributed to Defendant then the parties’ experts can confer to determine the best
                        8 means to determine if the clicks are actionable against Defendant.
                        9 Defendant’s Supplemental Response To Special Interrogatory No. 4:
                       10        The documents produced by Defendants numbered as WC 000170-219
                       11 represent an inventory of the company IP Addresses at each location with the date
                       12 range for the use of each, and the IP Addresses for employees who used their own
                       13 devices for business purposes, again with the date range for each. The inventory
                       14 was compiled by Greg Winter, an IT professional, working with the company and
                       15 its employees and as confirmed by the screenshots included in the production. The
                       16 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                       17 against the list provided by Plaintiff and prepared his letter produced with his
                       18 resume as WC 000220-235.
                       19 Plaintiff’s Reason to Compel Production:
                       20        This request is in companion with Interrogatory No. 3, and is designed to
                       21 capture any devices that Defendants may claim were not technically under their
                       22 control, but they are aware were used to access Satmodo’s website and/or click on
                       23 its paid ads. Defendants’ “supplemental response” fails to provide this information.
                       24        Moreover, even the non-responsive list of “IP addresses” based upon current
                       25 screen shots if the IP assigned is of little value in identifying all potential IP
                       26 addresses previously used or assigned, as devices may be assigned different IP
                       27 addresses on any given day as they are moved from place to place, or even by
                       28 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
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                        1 Declaration of Lars Schou).
                        2 Defendant’s Basis for Objection:
                        3        The same reasons why this is not discoverable described in response to
                        4 Special Interrogatory No. 1 applies here. The IP Address list provides the date
                        5 ranges for use of the IP Address.
                        6 SPECIAL INTERROGATORY NO. 5:
                        7        List all Operating Systems (including but not limited to Unix, Windows,
                        8 DOS, Linux, Mac OS X, Android, iOS and PDA OPERATING SYSTEMS)
                        9 installed on any computer or mobile devices used by YOU from the time period
                       10 between January 1, 2016 to the present, the specific equipment the Operating
                       11 System was installed on and the period during which it was installed on the specific
                       12 equipment.
                       13 Response to Special Interrogatory No. 5:
                       14        Objection: overbroad, burdensome and oppressive and outside the scope of
                       15 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       16 production of material which might be privileged and would be proprietary to the
                       17 Defendant. Defendants will not permit this inspection. Working from the list
                       18 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       19 dispute and if there is a good faith disagreement about particular clicks being
                       20 attributed to Defendant then the parties’ experts can confer to determine the best
                       21 means to determine if the clicks are actionable against Defendant.
                       22 Defendant’s Supplemental Response To Special Interrogatory No. 5:
                       23        The documents produced by Defendants numbered as WC 000170-219
                       24 represent an inventory of the company IP Addresses at each location with the date
                       25 range for the use of each, and the IP Addresses for employees who used their own
                       26 devices for business purposes, again with the date range for each. The inventory
                       27 was compiled by Greg Winter, an IT professional, working with the company and
                       28 its employees and as confirmed by the screenshots included in the production. The
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                        1 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                        2 against the list provided by Plaintiff and prepared his letter produced with his
                        3 resume as WC 000220-235.
                        4 Plaintiff’s Reason to Compel Production:
                        5        As described in detail in the Motion, the internal list of IPs referenced in the
                        6 Supplemental Responses does not provide the information requested as to the
                        7 identityof operating system(s) used by each identified device, which is needed to
                        8 allow Plaintiffs to tie fraudulent clicks identified by ClickCease (including a device
                        9 ID and operating system used) to Defendants and their agents.
                       10 Defendant’s Basis for Objection:
                       11        The same reasons why this is not discoverable described in response to
                       12 Special Interrogatory No. 1 applies here and Satmodo provides no explanation of the
                       13 need to know the operating system of the device and the declarations it offers do not
                       14 even address this subject.
                       15 SPECIAL INTERROGATORY NO. 8:
                       16        List the names and contact information for all present and former employees
                       17 employed by YOU from the time period between January 1, 2016 to the present.
                       18 Response to Special Interrogatory No. 8:
                       19        Objection: overbroad, burdensome and oppressive and outside the scope of
                       20 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       21 production of material which might be privileged and would be proprietary to the
                       22 Defendant. Defendants will not permit this inspection. Working from the list
                       23 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       24 dispute and if there is a good faith disagreement about particular clicks being
                       25 attributed to Defendant then the parties’ experts can confer to determine the best
                       26 means to determine if the clicks are actionable against Defendant.
                       27 Defendant’s Supplemental Response To Special Interrogatory No. 8:
                       28        The documents produced by Defendants numbered as WC 000170-219
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                        1 represent an inventory of the company IP Addresses at each location with the date
                        2 range for the use of each, and the IP Addresses for employees who used their own
                        3 devices for business purposes, again with the date range for each. The inventory
                        4 was compiled by Greg Winter, an IT professional, working with the company and
                        5 its employees and as confirmed by the screenshots included in the production. The
                        6 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                        7 against the list provided by Plaintiff and prepared his letter produced with his
                        8 resume as WC 000220-235.
                        9 Plaintiff’s Reason to Compel Production:
                       10        Defendant’s boilerplate objections regarding documents and inspections do
                       11 not address the information requested in this interrogatory that seeks the identity of
                       12 Defendant’s present and former employees for a limited time period.                The
                       13 information sought will allow Plaintiff to conduct its own investigation as to those
                       14 aware of and/or responsible for the conduct alleged in the Complaint, and also better
                       15 target further discovery. To the extent the “list” is intended to be an exhaustive list
                       16 of the “employees” during this time frame, Defendants are still required to set forth
                       17 under oath a list and associated information sought by this targeted Interrogatory.
                       18 Defendant’s Basis for Objection:
                       19        This has been provided.
                       20 SPECIAL INTERROGATORY NO. 9:
                       21        List the names and contact information for all present and former independent
                       22 contractors providing any services for YOU from the time period of January 1, 2016
                       23 to the present.
                       24 Response to Special Interrogatory No. 9:
                       25        Objection: overbroad, burdensome and oppressive and outside the scope of
                       26 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       27 production of material which might be privileged and would be proprietary to the
                       28 Defendant. Defendants will not permit this inspection. Working from the list
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   CARRUTH LLP
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                        1 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                        2 dispute and if there is a good faith disagreement about particular clicks being
                        3 attributed to Defendant then the parties’ experts can confer to determine the best
                        4 means to determine if the clicks are actionable against Defendant.
                        5 Plaintiff’s Reason to Compel Production:
                        6        Defendant’s boilerplate objections regarding documents and inspections do
                        7 not address the information requested in this interrogatory that seeks the identity of
                        8 Defendant’s present and former independent contractors for a limited time period.
                        9 The information sought will allow Plaintiff to conduct its own investigation as to
                       10 those aware of and/or responsible for the conduct alleged in the Complaint, and also
                       11 better target further discovery. During the meet and confer process, Defendants’
                       12 counsel pointed to the “List” as a list of employees, but refused to agree to provide a
                       13 list of any “independent contractors” or “others acting on Defendants” behalf as
                       14 requested by the Interrogatory and the definition of “YOU.” Obviously, to the
                       15 extent Defendants are aware of anyone they currently view as an “independent
                       16 contractor” of Defendants that may have been responsible for fraudulent clicking of
                       17 Plaintiff’s ads, Plaintiff is entitled to obtain that information and conduct its own
                       18 investigation and discovery as to each such individual.
                       19 Defendant’s Basis for Objection:
                       20        This has been provided.
                       21         DEMAND FOR INSPECTION OF PERSONAL PROPERTY TO
                       22                         WHENEVER COMMUNICATIONS
                       23 Demand For Inspection No. 1:
                       24        Each COMPUTING DEVICE within YOUR possession, custody, or control
                       25 which was in use for any purpose related to YOUR operations at any time during the
                       26 period January 1, 2016 to the present, whether still in use or not, so that SATMODO
                       27 and its agents may inspect and create copies, including forensic images, of each.
                       28 (Please have all necessary passwords available at the time of production to permit
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                        1 this process.)
                        2 Response To Demand For Inspection No. 1:
                        3         Objection: overbroad, burdensome and oppressive and outside the scope of
                        4 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                        5 production of material which might be privileged and would be proprietary to the
                        6 Defendant. Defendants will not permit this inspection. Working from the list
                        7 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                        8 dispute and if there is a good faith disagreement about particular clicks being
                        9 attributed to Defendant then the parties’ experts can confer to determine the best
                       10 means to determine if the clicks are actionable.
                       11 Plaintiff’s Reason to Compel Production:
                       12         Defendants have adamantly denied Plaintiff’s allegations set forth in the
                       13 Complaint, particularly that Defendants have intentionally, systematically and
                       14 fraudulently clicked on Plaintiff’s paid advertisements on various search engines
                       15 with the intent to harm Plaintiff. An inspection of Defendant’s computing devices
                       16 and ESI is absolutely necessary to disprove Defendant’s denials.           Plaintiff has
                       17 continually offered to discuss ESI Discovery and Protocols with Defendants’
                       18 counsel, however Plaintiff’s counsel is not willing to allow Defendants to impede
                       19 efforts to conduct an investigation of claims based upon Defendants’ promise to
                       20 conduct its own investigation and advise of their findings.
                       21         The self-prepared list of “IP addresses” based upon current screen shots if the
                       22 IP assigned is of little value in identifying all potential IP addresses previously used
                       23 or assigned, as devices may be assigned different IP addresses on any given day as
                       24 they are moved from place to place, or even by simply toggling on               and off
                       25 “Airplane Mode.” (See Motion and accompanying Declaration of Lars Schou).
                       26 Thus, an inspection of the devices is also needed to allow Plaintiff and its experts to
                       27 discover all IP addresses that may have been used by the device previously, all
                       28 operating systems that might have been previously used, searches for or clicks on
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                        1 Satmodo’s website or paid ads, and whether any devices have been modified,
                        2 altered, or “wiped clean” prior to the time Defendants consultants obtained IP
                        3 addresses based on screen shots of “whats my IP.”
                        4        Defendants’ expert’s suggestion that an inspection of the presently identified
                        5 devices would provide no relevant information because the devices would not
                        6 record “public IP addresses” is simply wrong. (Lars Schou Decl. ¶ 9) Even “public
                        7 IP addresses” are often found stored in browser cookies and these can persist for
                        8 extended periods of time. Creating a forensic image of a computer or device would
                        9 also allow Plaintiff’s experts to carve the unallocated space for deleted files
                       10 (including cookies) and extract IP addresses from those. (Id.) Carving is typically
                       11 less useful with mobile devices, but active cookies should still be examined. (Id.)
                       12 An inspection of the presently identified devices themselves will also allow Plaintiff
                       13 to determine (1) if VPN (“virtual private networks”) applications were ever installed
                       14 or used to mask the location of the devices, (2) to determine of the device has been
                       15 reformatted, modified, or altered between the filing of the lawsuit and the date of
                       16 inspection, and (3) to determine if internet access was provided through other
                       17 undisclosed devices (i.e. public Wi-Fi or tethering to burner phones).
                       18 Defendant’s Basis for Objection:
                       19        This demand for inspection of all of the Defendants’ and employees’
                       20 computers so that Satmodo can copy their contents is unreasonable on its face and is
                       21 made worse by the fact Satmoto wants to copy the contents of the computers of its
                       22 direct competitor. Again, Satmodo provides no reasoned discussion about the need
                       23 for the extraordinary request and the declarations submitted in support of this
                       24 motion do not even address this subject. The new position that the devices need to
                       25 be inspected to determine the IP Addresses is not what the Request calls for and
                       26 ignores the fact the devices are not configured to log the IP Address which would be
                       27 recorded at the web site location. The Request is also unnecessary for this purpose
                       28 as Satmodo has issued subpoenas to all of the internet service providers and will be
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                        1 provided the owner of the IP Addresses through this discovery. The declarants are
                        2 critical of the Defendants’ IP Address listing but ignore the fact that the IP Address
                        3 is how Satmodo identified the clicks on which it based this action. Defendants
                        4 provided this list to allow an in kind review of the clicks which would be attributed
                        5 to Defendants, which at this point amounts to the total of 20 clicks over an 18-month
                        6 period, which means the case has a value of under $1,000 at this point. There is no
                        7 legal or factual basis for Defendants to turn over their computers so that Satmodo
                        8 can copy their contents, and the discovery request violates Rule 26 and he guidance
                        9 of the District Court that discovery is “narrow.”
                       10        REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                       11                        WHENEVER COMMUNICATIONS
                       12 REQUEST FOR PRODUCTION NO. 1:
                       13        All DOCUMENTS that evidence, refer to or RELATE TO any attempts to
                       14 access, review, research, interact with and/or click on SATMODO’s website or paid
                       15 advertisements.
                       16 Response To Request for Production No. 1:
                       17        Objection: overbroad, burdensome and oppressive and outside the scope of
                       18 permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       19 production of material which might be privileged and would be proprietary to the
                       20 Defendant. Defendants will not permit this inspection. Working from the list
                       21 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                       22 dispute and if there is a good faith disagreement about particular clicks being
                       23 attributed to Defendant then the parties’ experts can confer to determine the best
                       24 means to determine if the clicks are actionable against Defendant.
                       25 Defendant’s Supplemental Response To Request for Production No. 1:
                       26        The documents produced by Defendants numbered as WC 000170-219
                       27 represent an inventory of the company IP Addresses at each location with the date
                       28 range for the use of each, and the IP Addresses for employees who used their own
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                        1 devices for business purposes, again with the date range for each. The inventory
                        2 was compiled by Greg Winter, an IT professional, working with the company and
                        3 its employees and as confirmed by the screenshots included in the production. The
                        4 inventory was provided to Peter Kent, a retained expert, who analyzed the inventory
                        5 against the list provided by Plaintiff and prepared his letter produced with his
                        6 resume as WC 000220-235.
                        7 Plaintiff’s Reason to Compel Production:
                        8        Defendant’s accessing and/or interacting with Plaintiff’s website or paid
                        9 advertisements is at the heart of this matter, is clearly relevant to the subject matter
                       10 of this case. It is hard to imagine a more relevant inquiry than asking Defendants to
                       11 produce any documents that relate to their accessing of Plaintiff’s website and/or
                       12 clicking on Plaintiff’s paid ads.
                       13        The non-responsive list of “IP addresses” based upon current screen shots if
                       14 the IP assigned does not provide this information and, moreover, is of little value in
                       15 identifying all potential IP addresses previously used or assigned, as devices may be
                       16 assigned different IP addresses on any given day as they are moved from place to
                       17 place, or even by simply toggling on and off “Airplane Mode.” (See Motion and
                       18 accompanying Declaration of Lars Schou).
                       19 Defendant’s Basis for Objection:
                       20        The request is meaningless and Defendants did not engage in the conduct
                       21 alleged. Plaintiff provides no suggestion what such a document might be and the
                       22 case is proceeding based on the log of clicks that record IP Addresses. Defendants
                       23 have provided a corresponding inventory of the IP Addresses to advance the
                       24 investigation and are proposing a test run by the experts which will show the so-
                       25 called Device ID for the devices used by Defendants and employees which can be
                       26 compared to the master list of all clicks.
                       27 REQUEST FOR PRODUCTION NO. 9:
                       28        DOCUMENTS sufficient to identify any and all Internet Service Providers
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                        1 used by YOU from September 1, 2016 to the present.
                        2 Response To Request for Production No. 9:
                        3        Defendant will provide a lists of the Internet Service Providers and the ISP
                        4 addresses assigned by those providers.
                        5 Plaintiff’s Reason to Compel Production:
                        6        Defendant is asked to produce all documents in its possession that would
                        7 sufficiently identify any and all Internet Service Providers and IP Addresses used by
                        8 Defendant from September 1, 2016 to the present. Defendant’s response that they
                        9 will instead provide a “list” of the Internet Service Providers and the IP Addresses
                       10 assigned by those ISP’s is an insufficient response and fails to comply with FRCP
                       11 Rule 34. The Requests seeks documentation, not a compiled list of the ISP’s used by
                       12 Defendants and the IP Addresses assigned to them. The requested documents will
                       13 allow Plaintiff to conduct its own investigation through targeted written discovery in
                       14 advance of computer inspections and depositions.
                       15        Moreover, even the non-responsive list of “IP addresses” based upon current
                       16 screen shots if the IP assigned is of little value in identifying all potential IP
                       17 addresses previously used or assigned, as devices may be assigned different IP
                       18 addresses on any given day as they are moved from place to place, or even by
                       19 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                       20 Declaration of Lars Schou).
                       21 Defendant’s Basis for Objection:
                       22        This has been provided.
                       23 REQUEST FOR PRODUCTION NO. 10:
                       24        DOCUMENTS sufficient to identify any and all IP addresses used by or
                       25 assigned to YOU from September 1, 2016 to the present.
                       26 Response To Request for Production No. 10:
                       27        Defendant will provide a lists of the Internet Service Providers and the ISP
                       28 addresses assigned by those providers.
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                        1 Plaintiff’s Reason to Compel Production:
                        2         Defendant is asked to produce all documents in its possession that would
                        3 sufficiently identify any and all Internet Service Providers and IP Addresses used by
                        4 Defendant from September 1, 2016 to the present. Defendant’s response that they
                        5 will instead provide a “list” of the Internet Service Providers and the IP Addresses
                        6 assigned by those ISP’s is an insufficient response and fails to comply with FRCP
                        7 Rule 34. The Requests seeks documentation, not a compiled list of the ISP’s used by
                        8 Defendants and the IP Addresses assigned to them. The requested documents will
                        9 allow Plaintiff to conduct its own investigation through targeted written discovery in
                       10 advance of computer inspections and depositions.
                       11         Moreover, even the non-responsive list of “IP addresses” based upon current
                       12 screen shots if the IP assigned is of little value in identifying all potential IP
                       13 addresses previously used or assigned, as devices may be assigned different IP
                       14 addresses on any given day as they are moved from place to place, or even by
                       15 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                       16 Declaration of Lars Schou).
                       17 Defendant’s Basis for Objection:
                       18         This has been provided.
                       19         REQUESTS FOR PRODUCTION OF DOCUMENTS TO BLANCO
                       20
                            REQUEST FOR PRODUCTION NO. 1:
                       21
                                  All DOCUMENTS that evidence, refer to or RELATE TO any attempts to
                       22
                            access, review, research, interact with and/or click on SATMODO’s website or paid
                       23
                            advertisements.
                       24
                            Response To Request for Production No. 1:
                       25
                                  Objection: overbroad, burdensome and oppressive and outside the scope of
                       26
                            permissible discovery pursuant to FRCP, Rule 26(b)(1). This request seeks
                       27
                            production of material which might be privileged and would be proprietary to the
                       28
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                        1 Defendant. Defendants will not permit this inspection. Working from the list
                        2 provided by Plaintiff, Defendant will make its best efforts to identify clicks in
                        3 dispute and if there is a good faith disagreement about particular clicks being
                        4 attributed to Defendant then the parties’ experts can confer to determine the best
                        5 means to determine if the clicks are actionable against Defendant.
                        6 Plaintiff’s Reason to Compel Production:
                        7        Defendant’s accessing and/or interacting with Plaintiff’s website or paid
                        8 advertisements is at the heart of this matter, is clearly relevant to the subject matter
                        9 of this case. It is hard to imagine a more relevant inquiry than asking Defendants to
                       10 produce any documents that relate to their accessing of Plaintiff’s website and/or
                       11 clicking on Plaintiff’s paid ads.
                       12 Defendant’s Basis for Objection:
                       13               The request is meaningless and Defendants did not engage in the
                       14 conduct alleged. Plaintiff provides no suggestion what such a document might be
                       15 and the case is proceeding based on the log of clicks that record IP Addresses which
                       16 Plaintiff has provided. Defendants have provided a corresponding inventory of the
                       17 IP Addresses to advance the investigation and are proposing a test run by the experts
                       18 which will show the so-called Device ID for the devices used by Defendants and
                       19 employees which can be compared to the master list of all clicks.
                       20 REQUEST FOR PRODUCTION NO.5:
                       21        DOCUMENTS sufficient to identify any and all Internet Service Providers
                       22 used by YOU from September 1, 2016 to the present.
                       23 Response To Request for Production No. 5:
                       24        Defendant will provide a lists of the Internet Service Providers and the ISP
                       25 addresses assigned by those providers.
                       26 Plaintiff’s Reason to Compel Production:
                       27        Defendant is asked to produce all documents in its possession that would
                       28 sufficiently identify any and all Internet Service Providers and IP Addresses used by
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                        1 Defendant from September 1, 2016 to the present. Defendant’s response that they
                        2 will instead provide a “list” of the Internet Service Providers and the IP Addresses
                        3 assigned by those ISP’s is an insufficient response and fails to comply with FRCP
                        4 Rule 34. The Requests seeks documentation, not a compiled list of the ISP’s used by
                        5 Defendants and the IP Addresses assigned to them. The requested documents will
                        6 allow Plaintiff to conduct its own investigation through targeted written discovery in
                        7 advance of computer inspections and depositions.
                        8        Moreover, even the non-responsive list of “IP addresses” based upon current
                        9 screen shots if the IP assigned is of little value in identifying all potential IP
                       10 addresses previously used or assigned, as devices may be assigned different IP
                       11 addresses on any given day as they are moved from place to place, or even by
                       12 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                       13 Declaration of Lars Schou).
                       14 Defendant’s Basis for Objection:
                       15        This has been provided.
                       16 REQUEST FOR PRODUCTION NO. 6:
                       17        DOCUMENTS sufficient to identify any and all IP addresses used by or
                       18 assigned to YOU from September 1, 2016 to the present.
                       19 Response To Request for Production No. 6:
                       20        Defendant will provide a lists of the Internet Service Providers and the ISP
                       21 addresses assigned by those providers.
                       22 Plaintiff’s Reason to Compel Production:
                       23        Defendant is asked to produce all documents in its possession that would
                       24 sufficiently identify any and all Internet Service Providers and IP Addresses used by
                       25 Defendant from September 1, 2016 to the present. Defendant’s response that they
                       26 will instead provide a “list” of the Internet Service Providers and the IP Addresses
                       27 assigned by those ISP’s is an insufficient response and fails to comply with FRCP
                       28 Rule 34. The Requests seeks documentation, not a compiled list of the ISP’s used by
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                        1 Defendants and the IP Addresses assigned to them. The requested documents will
                        2 allow Plaintiff to conduct its own investigation through targeted written discovery in
                        3 advance of computer inspections and depositions.
                        4            Moreover, even the non-responsive list of “IP addresses” based upon current
                        5 screen shots if the IP assigned is of little value in identifying all potential IP
                        6 addresses previously used or assigned, as devices may be assigned different IP
                        7 addresses on any given day as they are moved from place to place, or even by
                        8 simply toggling on and off “Airplane Mode.” (See Motion and accompanying
                        9 Declaration of Lars Schou).
                       10 Defendant’s Basis for Objection:
                       11            This has been provided.
                       12 Dated: April 23, 2018                       McCORMICK, BARSTOW, SHEPPARD,
                                                                          WAYTE & CARRUTH LLP
                       13
                       14
                       15
                                                                      By:       s/ Devon R. McTeer
                       16                                                            Scott J. Ivy
                                                                                  Devon R. Mcteer
                       17
                                                                                    Jared Gordon
                       18                                             Attorneys for Plaintiff, SATMODO, LLC
                       19
                       20
                       21 Dated: April 23, 2018                                 HERRON LAW, APC

                       22
                       23
                                                                      By:  s/ Matthew V. Herron
                       24                                                   Matthew V. Herron
                       25                                                 Defendants WHENEVER
                                                                      COMMUNICATIONS, LLC and HENAA
                       26                                                       BLANCO
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                       28   18265-00000 5095947.1
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